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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION

GREGORY LOFTON, SR                               §
                                                 §
                     Plaintiff,                  §
                                                 §
-versus-                                         § CIVIL ACTION NO.:
                                                 §
AVERITT EXPRESS INC. and RICHARD                 §
STAPLETON ,                                      §
                                                 §
                     Defendants.                 §


   PLAINTIFF’S LOFTON’S ORIGINAL COMPLAINT FOR DAMAGES


      COMES NOW the Plaintiff, GREGORY LOFTON, (hereinafter "Lofton"), who
makes and files this, his Original Complaint for Damages against AVERITT EXPRESS
INC. and RICHARD STAPLETON (deceased) by respectfully showing to this
Honorable Court as follows:

                                            I.
                                       PARTIES

      1.0      Plaintiff GREGORY LOFTON is, and at all times material to this lawsuit,
a resident of Georgia with his mailing address being 202 Morris Road, Gray, Jones County,
Georgia, and has a cause of action in tort against Defendants Averitt Express Inc. and
Richard Stapleton (deceased) arising out of a motor vehicle wreck in Spring Garden TW,
Jefferson County, Ilinois that occurred on July 20, 2017.
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        1.1     Averitt Express Inc. is a domestic profit corporation existing under the laws

of the State of Tennessee with its principal place of business in the State of Tennessee and

is authorized to transact business in the State of Tennessee. The cause of action made the

basis of this lawsuit arose out of a tractor-trailer wreck in Jefferson County, Illinois that

occurred on July 20, 2017. Averitt Express Inc. may be served with the Summons and

Original Complaint for Damages through its registered agent for service of process, Dale

C. Allen, 424 Church Street, Ste. 2700, Nashville, Davidson County, Tennessee 37219.

        1.2     Defendant Richard Stapleton is, and at all times material to this lawsuit,

prior to his death resided at 188 Guthrie Drive, Southaven, DeSoto County, Mississippi.

The cause of action made the basis of this lawsuit arose out of a tractor-trailer wreck in

Jefferson County, Illinois that occurred on July 20, 2017.

                                              II.

                                 JURISDICTION AND VENUE

        2.0     This cause of action arises out of a tractor-trailer wreck caused by Defendant

Richard Stapleton negligent operation of a commercial vehicle (2015 Volvo Tractor) on

July 20, 2017 in Jefferson County, Illinois. The commercial vehicle operated by Defendant

Richard Stapleton was owned by Defendant Averitt Express Inc., which was responsible

for the maintenance on said commercial vehicle. Further, Defendant Richard Stapleton

operated said vehicle within the scope of his employment with Defendant Averitt Express

Inc.




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        2.1     Jurisdiction and venue are proper in and before this Honorable Court. This

case is filed in this court pursuant to diversity jurisdiction. The parties are citizens or

incorporations of two different states and the amount in controversy is in excess of $75,000.

        2.2     Defendant Averitt Express Inc. was the employer of the driver and owner

of the vehicle in this cause of action.

        2.3     Plaintiff LOFTON have a cause of action arising in tort against the

Defendant Averitt Express Inc. based on negligence, negligent entrustment, and

entrustment of dangerous instrumentalities; strict liability; negligent infliction of emotional

distress, intentional infliction of emotional distress; negligent hiring, training and

supervision; negligent inspection, maintenance and repair; imputed liability; and other

causes as set forth below.

        2.4     Defendant Averitt Express Inc. operates and conducts business throughout

the country including on the date of the accident.

                                  JOINT VENTURE / ENTERPRISE

        3.0     Defendants Averitt Express Inc. and Richard Stapleton were engaged in a

joint venture/enterprise at the time of this wreck. Each Defendant had a shared community

of interest in the object and purpose of the undertaking for which the commercial vehicle

in question was being operated and used. Each Defendant had an equal right to share in the

maintenance and control of the operation of the commercial vehicle at the time of this

wreck regardless of whether such right was actually exercised.




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        3.1      Defendants Averitt Express Inc. and Richard Stapleton operated as a joint

venture/enterprise for the purpose of streamlining and furthering their similar business

interests.

        3.2      Because the Defendants named herein and others were engaged in a joint

venture/enterprise before, during and after this wreck, the acts and omissions of each

participant in the joint venture/enterprise are imputable to all other participants. The actions

of the Defendants and each of its servants, agents and employees as set forth herein, are

imputed to each of the Defendants, jointly and severally.

                                   RESPONDEAT SUPERIOR

        4.0      Defendant Averitt Express Inc. is liable for the fraudulent, reckless and

wanton conduct, negligent acts and/or omissions of its agents, servants, and/or employees

at the time of this wreck and the injuries sustained by Plaintiff LOFTON as the

commercial vehicle driven by Defendant Richard Stapleton ran into the back of a

vehicle which caused other vehicles to collide and one such vehicle being the vehicle

Plaintiff LOFTON was seated.

                               APPARENT “OSTENSIBLE” AGENCY

        5.0      Each Defendant is liable for the fraudulent, reckless and wanton conduct,

negligent acts and omissions of its agents, servants, and/or employees and for their

fraudulent, reckless and wanton conduct and negligent acts and omission during their

employment with each Defendant and at the time of this wreck. Defendant Richard

Stapleton represented himself as an employee and/or agent of Defendant Averitt Express

Inc. as the commercial vehicle bore the signage of said Defendant.

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        5.1     As a result of the Defendants’ negligence described herein, Plaintiff

LOFTON sustained severe injuries and lost wages.



                                              III.

                 FACTUAL ALLEGATIONS AGAINST THE DEFENDANTS


        6.0     On July 20, 2017, Plaintiff GREGORY LOFTON was a driver seated in a
“bucket seat” attached to a 2018 Western Street 3 Axle Str traveling south on I-57, a public
road in Jefferson County, Illinois, when he was struck by a commercial vehicle operated
by Joshua Myles. The vehicle operated by Joshua Myles had been struck by a 18-wheel
truck driven by Defendant Richard Stapleton but owned by Defendant Averitt Express Inc.
        6.1     At the aforesaid time and place, Defendant Richard Stapleton was traveling
south on I-57, a public road in public road in Jefferson County, Illinois. At all times
material to this lawsuit, Defendant Stapleton was operating a 2015 Volvo Tractor which
had a trailer attached thereto. The tractor-trailer was owned by Defendant Averitt Express
Inc. a self-insured company.
        6.2     According to the Crash Report and the investigation completed by J. Shrake
of the Illinois State Patrol, it was his opinion that your insured’s driver (Stapleton) was
following too closely and failed to exercise due care.

        6.3     The weather conditions were clear and dry at the time of the wreck caused

by Defendant Stapleton, according to Trooper Shrake. Defendant Stapleton’s negligence

caused the serious injuries sustained by Plaintiff GREGORY LOFTON.

        6.4     Defendant Stapleton suffered fatal injuries and died at the scene .




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        6.5      Defendant Richard Stapleton recklessly, wantonly, and negligently failed to

watch for traffic ahead of him thereby violently striking the vehicle ahead of him, which

caused a chain reaction between several vehicles; thus, causing Plaintiff GREGORY

LOFTON to sustain severe injuries.


        6.6      Defendant Richard Stapleton, by and through his negligence, placed Plaintiff
GREGORY LOFTON in significant danger.
        6.7      Defendant Richard Stapleton failed to properly and safely operate his tractor-
trailer as described above so as to not endanger the lives and property of others.

                                               IV.

                           CLAIMS AGAINST THE DEFENDANTS

                        COUNT ONE – ORDINARY NEGLIGENCE


        7.0      Plaintiff LOFTON hereby realleges and incorporates all of the allegations
set forth hereinabove in his Original Complaint for Damages as though fully stated herein.

        7.1      At the time and place of the collision described above, Defendant Richard

Stapleton was negligent in the following manner:

       (a) Defendant Richard Stapleton failed to exercise ordinary care in failing to keep a

              proper lookout in violation of O.C.G.A. §51-11-7, the same constituting

              negligence per se;

        (b) Defendant Richard Stapleton failed to maintain proper control of his vehicle in

              violation of O.C.G.A. §51-11-7, the same constituting negligence per se;




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        (c) Defendant Richard Stapleton failed to exercise ordinary care in the control,

              speed, and movements of the commercial vehicle he operated at the time of this

              wreck; and

        (d) Any and all other acts of negligence as may be shown through discovery or proof

              at trial.

        7.2       Defendant Richard Stapleton was negligent in colliding into a vehicle which

        caused several other vehicles to collide, one of which that struck and injured

        Plaintiff GREGORY LOFTON.

        7.3       Plaintiff GREGORY LOFTON incurred medical and other related

expenses as a direct result of the medical treatment he received for the injuries he sustained

in this tractor-trailer wreck caused by Defendant Richard Stapleton. Additional medical

treatment is required in the future.

        7.4       Plaintiff GREGORY LOFTON endured enormous pain and suffering due

to the injuries sustained in this wreck.

        WHEREFORE, Plaintiff GREGORY LOFTON demands as fol1ows:

        (a) That process issue in compliance with the law;
        (b) That a jury trial be held to determine all issues, including damages; and

        (c) That he be awarded compensatory damages for the bodily injuries in excess of
$ 20, 731.35 suffered through agent and/or instrumentality of the Defendants, in an
amount to be determined by the enlightened conscience of a jury.
                           COUNT TWO – IMPUTED LIABILITY

        8.0       Plaintiff GREGORY LOFTON hereby realleges and incorporates all the



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allegations set forth herein above in his Original Complaint for Damages as though fully

stated herein.

        8.1      At the time of the subject collision, Defendant Richard Stapleton was under

dispatch for Defendant Averitt Express Inc.

        8.2      At the time of the subject collision, Defendant Richard Stapleton was

operating the tractor-trailer vehicle in question on behalf of Defendant Averitt Express Inc.

        8.3      Defendant Averitt Express Inc. is an interstate and/or intrastate motor carrier

and pursuant to federal and state laws, is responsible for the actions of Defendant Richard

Stapleton in regard to the collision described in this Original Complaint for Damages under

the doctrine of lease liability, agency, or apparent agency.


    COUNT THREE – NEGLIGENT HIRING, TRAINING and SUPERVISION

        9.0      Plaintiff GREGORY LOFTON hereby realleges and incorporates all the

allegations set forth herein above in his Original Complaint for Damages as though fully

stated herein.

        9.1      Defendant Averitt Express Inc.       was negligent in hiring and retaining

Defendant Richard Stapleton and entrusting him to drive a tractor-trailer.

        9.2      Defendant Averitt Express Inc. was negligent in failing to properly train

Defendant Richard Stapleton.

        9.3      Defendant Averitt Express Inc. was negligent in failing to properly supervise

Defendant Richard Stapleton.




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        9.4      Defendant Averitt Express Inc. ’s negligence in hiring and retaining Richard

Stapleton and entrusting him with driving a commercial vehicle (tractor-trailer) and failing

to train and supervise him properly were the sole and proximate causes of the collision and

Plaintiff GREGORY LOFTON’s injuries and all expenses and costs related thereto.

                                  COUNT FOUR – DAMAGES

        10.0     Plaintiff GREGORY LOFTON hereby realleges and incorporates all the
allegations set forth herein above in his Original Complaint for Damages as though fully
stated herein.
        10.1     As a result of the Defendant Averitt Express Inc. negligence, Plaintiff
GREGORY LOFTON suffered physical mental injuries.

        10.2     As a result of the Defendant Averitt Express Inc. negligence, Plaintiff

GREGORY LOFTON incurred medical and related expenses and loss wages.

        10.3     As a result of the Defendant Averitt Express Inc. negligence, Plaintiff

GREGORY LOFTON will incur future medical and related expenses and loss wages.

        10.4     Defendants’ negligence is the sole and proximate cause of Plaintiff

GREGORY LOFTON injuries, medical expenses, and other damages.

          COUNT FIVE – PERSONAL INJURIES TO GREGORY LOFTON

        11.0     Plaintiff GREGORY LOFTON hereby realleges and incorporates all of

the allegations set forth herein and above in his Original Complaint for Damages as

though fully stated herein.

        11.1     As a direct and proximate result of the aforesaid negligence and negligence

per se of the Defendant Averitt Express Inc. as stated herein and above, Plaintiff



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GREGORY LOFTON was physically injured. Plaintiff GREGORY LOFTON has

experienced and will continue to experience pain and suffering and emotional distress as a

result of his injuries and the trauma associated with being in this wreck. Further, Plaintiff

GREGORY LOFTON has been hindered from going about his regular daily activities

due to his injuries and physical limitations.

        11.2    As a direct and proximate result of the Defendants’ (Averitt Express Inc.)

negligence and negligence per se as stated herein and above, Plaintiff GREGORY

LOFTON has suffered and continues to suffer physical pain and suffering, a loss of

enjoyment of life, a diminishment in his capacity to labor and earn money, permanent

injury and other damages.

        11.3    By reason of the foregoing, Plaintiff GREGORY LOFTON is entitled to

recover past, present, and future compensatory damages from Defendant Averitt Express

Inc. in such an amount as may be shown by the evidence and as may be determined by the

enlightened conscience of a fair-minded jury.

           COUNT SIX – MEDICAL EXPENSES OF GREGORY LOFTON

        12.0    Plaintiff GREGORY LOFTON hereby realleges and incorporates all of the

allegations set forth herein and above in his Original Complaint for Damages as though

fully stated herein.

        12.1    As a direct and proximate result of the aforesaid negligence and negligence

per se of the Defendant Averitt Express Inc. as stated herein and above, Plaintiff

GREGORY LOFTON has incurred medical expenses in excess of $22,456.35 to date for

the treatment of his injuries and will incur future medical expenses.

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        12.2    Plaintiff GREGORY LOFTON will continue to need medical treatment in

the future as a direct and proximate result of the aforesaid negligence and negligence per

se of the Defendant Averitt Express Inc. and Richard Stapleton in causing this wreck and

resulting injuries.

        12.3    By reason of the foregoing, Plaintiff GREGORY LOFTON is entitled to

recover from Defendants Averitt Express Inc. and Richard Stapleton past and future

medical and related expenses as a result of this wreck in such an amount as may be shown

by the evidence and as may be determined by the enlightened conscience of a fair-minded

jury.

                               COUNT SEVEN - LOSS WAGES

        13.0    Plaintiff GREGORY LOFTON hereby realleges and incorporates all of

the allegations set forth herein and above in his Original Complaint for Damages as

though fully stated herein.

        13.1    As a direct and proximate result of the Defendants’ (Richard Stapleton,

Averitt Express Inc. and The Insurance Company of the State of Pennsylvania) negligence

and negligence per se as stated herein, Plaintiff GREGORY LOFTON’s ability to labor

and earn money has been significantly diminished and he is therefore entitled to recover

damages for the same. Plaintiff GREGORY LOFTON has sustained loss wages in an

amount in excess of $70,400.00 to date and will suffer loss wages in the future.

        13.2    By reason of the foregoing, Plaintiff GREGORY LOFTON is entitled to

recover damages in an amount as may be shown by the evidence and as may be determined




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by the enlightened conscience of a fair-minded jury for the loss and reduction in his ability

to labor and earn money.

                                 COUNT EIGHT - BAD FAITH

          14.0   Plaintiff GREGORY LOFTON hereby realleges and incorporates all of the

allegations set forth herein and above in his Original Complaint for Damages as though

fully stated herein.

          14.1   Defendants Averitt Express Inc. has acted in bad faith, have been stubbornly

litigious, and/or have caused Plaintiff GREGORY LOFTON unnecessary trouble and

expense for which Plaintiff GREGORY LOFTON may recover from Defendant Averitt

Express Inc. the cost of litigation expenses and attorney’s fees.

          WHEREFORE, Plaintiff GREGORY LOFTON demands as follows:

          (a) That Plaintiff be awarded attorney’s fees;

          (b) That Defendants Averitt Express Inc. and Richard Stapleton be ordered to pay
Plaintiff GREGORY LOFTON’s costs and expenses; and

          (c) For such other and further relief as this Honorable Court may deem, equitable,

just and proper.

                           COUNT NINE – PUNITIVE DAMAGES

          15.0   Plaintiff GREGORY LOFTON hereby realleges and incorporates all of the

allegations set herein above in his Original Complaint for Damages as though fully stated

herein.




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        15.1    The conduct of the Defendants in causing this wreck was willful, wanton,

and intentional and evidences that entire want of care which raises the presumption of

conscious indifference to the consequences.

        15.2    Defendant Stapleton stopped observing the traffic ahead of him for a

considerable period of time, thus, failing to observe several stationary vehicles and the

yellow flashing arrows directing him to change lanes.

        15.3    As an actual and proximate result of the conduct on the part of the Defendant

which was willful, wanton and intentional, Plaintiff GREGORY LOFTON suffered

general damages for physical pain and suffering, mental pain and suffering, needless

agony, loss of his dignity, loss wages, medical expenses, permanent injury, and other

related expenses. The measure of damages will be determined by the enlightened

conscience of a fair and impartial jury.

                                              V.

                                 DEMAND FOR JURY TRIAL

        16.0    Plaintiff GREGORY LOFTON hereby demands a trial by jury.



                                              VI.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff GREGORY LOFTON demands as follows:

        (a)     That process issue in compliance with the law;

        (b)     That a jury trial be held to determine all issues, including damages;




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        (c)     That Plaintiff GREGORY LOFTON be awarded compensatory damages

for the bodily injuries suffered through agent and/or instrumentality of Defendants, in an

amount in excess of $1,000,000.00;

        (d)     That Plaintiff GREGORY LOFTON be awarded compensatory damages

for the mental anguish suffered due to emotional trauma suffered as a result of the

Defendants’ negligence, in an amount in excess of $1,000,000.00;

        (e)     That Defendants be required to pay general damages to Plaintiff GREGORY

LOFTON for their intentional infliction of emotional distress upon GREGORY

LOFTON, in an amount in excess of $1,000,000.00;

        (f)     That Plaintiff GREGORY LOFTON be awarded general damages for pain

and suffering and for negligent infliction of emotional distress upon Plaintiff GREGORY

LOFTON, in an amount in excess of $1,000,000.00;

        (h)     That Plaintiff GREGORY LOFTON recover punitive damages against the

Defendants in an amount sufficient to punish and deter them from similar conduct in the

future as determined by the enlightened conscience of a jury;

        (i)     That Plaintiff be awarded attorney’s fees;

        (j)     That Plaintiff recover as set forth in each Count and prayer enumerated in

this Original Complaint for Damages as determined by the enlightened conscience of a jury;

        (k)     That Defendants be ordered to pay Plaintiffs’ cost and expenses; and

        (l)     For such other and further relief as this Honorable Court may deem meet,

just and proper.




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      Respectfully submitted, this __ day of June, 2019.


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